                 Case 4:04-cr-00291-BSM                         Document 985                              Filed 04/10/12                            Page 1 of 2
AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT                                                                                                APR lO 2012
                                                      Eastern District of Arkansas                                                        ~~~EM~~
          UNITED STATES OF AMERICA                                                     Judgment in a Criminal Case                                                            EPCLERK
                             v.                                                        (For Revocation of Probation or Supervised Release)


          GWENDOLYN MCCULLOUGH                                                         Case No.                     4:04CR00291-10 JLH
                                                                                       USMNo.                       23548-009
                                                                                                                                    Justin T. Eisele
                                                                                                                                 Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)        . ; S;.o;p:. : e.: ; cl:a::zl,
                                                                                :. . . :G;;:.;e:.:n:.:e;.;.;ra:;.;;l'"',3""''-'6"----- of the term of supervision.
D   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                                      Violation Ended
Special                      Failure to complete inpatient substance abuse treatment                                                                  March 12, 2012
General                      Unlawful use of a controlled substance                                                                                   March 12, 2012
3                            Failure to truthfully answer questions of probation officer                                                              March 13, 2012
6                            Failure to notify probation officer of change in residence                                                               March 13, 2012



       The defendant is sentenced as provided in pages 2 through 2                                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s)                                              and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any       '
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5246

Defendant's Year of Birth:        1962

City and State of Defendant's Residence:
                 Jacksonville Arkansas
                                                                                                   I. Leon Holmes, United States Djstrjct Judge
                                                                                                                              Name and Title of Judge

                                                                                                                                    April 1 0, 2012
                                                                                                                                               Date
                 Case 4:04-cr-00291-BSM                      Document 985          Filed 04/10/12      Page 2 of 2
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 2- Imprisonment

                                                                                                Judgment- Page   2     of     2
DEFENDANT:                  GWENDOLYN MCCULLOUGH
CASE NUMBER:                4:04CR00291-10 JLH


                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

          12 MONTHS and ONE (1) DAY imprisonment with no supervised release to follow


   X   The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends defendant participate in residential substance abuse treatment during
       incarceration.


   X   The defendant is remanded to the custody of the United States Marshal.

   0   The defendant shall surrender to the United States Marshal for this district:
       0    at    --------- 0                         a.m.      0     p.m.    on
       0    as notified by the United States Marshal.

   0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       0    before 2 p.m. on
       0    as notified by the United States Marshal.
       0    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                        to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                             By
                                                                                          DEPUTY UNITED STATES MARSHAL
